                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re: U LOCK INC. a/k/a              )
U-LOCK INC.                           )       Case. 22-20823-GLT
                                      )
                       Debtor.        )
                                      )

                           DECLARATION OF GEORGE SNYDER

        I, George Snyder, declare and state under the penalty for perjury that the following is

true and correct to the best of my knowledge, information and belief (28 USC 1746):

   1.   My name is George Snyder. I am submitting this Declaration on behalf of U Lock

        Inc. I am over eighteen (18) years of age and have knowledge of the facts set forth

        herein.

   2. U Lock consists of 35 storage lockers and other storage type containers and facilities

        used for rental by third-parties, U Lock, and as explained below, unilaterally by

        Robert Biros, the father of Christine Biros.

   3. When U Lock purchased the property at 14140 Route 30, North Huntingdon,

        Pennsylvania 15642, using money that Christine Biros loaned us in an unsecured

        manner, there were several environmental concerns present.

   4. There were junk vehicles. Most were there since 2015. Tow truck companies will not

        remove them unless they are “tagged.” These cars were abandoned by their owners,

        they do not belong to U Lock. U Lock contacted North Huntingdon Township to

        obtain tagging. This resulted in the notification from the Township. I have requested

        the police tag them so that U Lock may cause them to be removed. I spoke to Officer

        Theodore Kukich on May 31, 2022, and he agreed to come out and review them again

        on June 3, 2022.

   5. Some of the garbage that Christine Biros mentions was actually brought to the

        property by her father, Robert Biros, in 2017. Robert Biros brought mobile homes
   that were missing side walls to the facility. Other items from Robert Biros include a

   refrigerator he abandoned on the property.

6. There were over 600 tires on the facility when we purchased the land. We did not

   place them there. Since beginning operations, we removed over 300 of the tires.

7. As to miscellaneous junk items, all of these items existed when we purchased the

   facility. We have removed some and are continuing to attempt to remove items.

8. We are aware of an environmental report that Christine Biros obtained in 2018

   claiming that it would cost over $350,000 to remediate the site. All of these

   environmental concerns existed upon purchase of the site. Nothing is new.

9. The only recent event is that a garbage truck, travelling through the area, caught on

   firer pulled onto U Lock’s property and dumped its load. A police report was made

   and the identity and ownership of the truck and driver listed thereon. The garbage

   truck came back and removed the garbage. This occurred through no action involving

   U Lock. U Lock had no relationship to the garbage truck. It was a random event.

   Dated this 31st day of May, 2022.

                                                 /s/ George Snyder
                                                 George Snyder
                                                 U Lock Inc.
